Case 2:19-cr-00342-FMO Document1 Filed 05/08/19 Page 1lof33 Page ID#:1

 

 

 

 

 

 

 

 

 

     
 

091 (Rev. 11/82) CRIMINAL COMPLAINT sen
UNITED STATES DISTRICT COURT CERCR SP IRTGS OH CALIFORNIA
pociter Np. _
UNITED STATES OF AMERICA Sp MAY 8 2018 |,
ANDRY PAULINO,: a.k.a. “Roberto Diaz” MAGRBIA TES GBD. eng DERUTY 4

 

 

Complaint for violation of Title 18, United States Code, Sections 1349 and 1028A

 

 

 

NAME OF MAGISTRATE JUDGE UNITED STATES LOCATION
Honorable John E. McDermott MAGISTRATE JUDGE Los Angeles, California
DATE OF OFFENSE PLACE OF OFFENSE ADDRESS OF ACCUSED (IF KNOWN)

2017 through the present Los Angeles County

 

 

 

COMPLAINANT’S STATEMENT OF FACTS CONSTITUTING THE OFFENSE OR VIOLATION:

FOES ; See Attachment

ms

 

 

BASIS OF COMPLAINANT’S CHARGE AGAINST THE ACCUSED:

(See attached affidavit which is incorporated as part of this Complaint)

 

MATERIAL WITNESSES IN RELATION TO THIS CHARGE: N/A

 

 

 

SIGNATURE OF COMPLAINANT
Being duly sworn, I declare that the . di
foregoing is true and correct to the best Sherine Ebadi
of my knowledge. OFFICIAL TITLE

__ | Special Agent, FBI

 

Sworn to before me and subscribed in my presence,

 

SIGNATURE OF MAGISTRATE JUDGE® ° DATE

May 8, 2019

 

 

 

 

 

© See Federal Rules of Criminal Procedure 3 and 54
AUSA Andrew Ae 11® floor, x0102 DETENTION Warrant

 
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Attachment

Count One (18 U.S.C. § 1349)

Beginning in or before 2017, and continuing through at least May 8, 2019, in Los
Angeles County, within the Central District of California, and elsewhere, defendant ANDRY
PAULINO, a.k.a. “Roberto Diaz” (“defendant”), and others, conspired to commit bank fraud, in
violation of Title 18, United States Code, Section 1344. The object of the conspiracy was carried
out, and to be carried out, in substance, as follows: Defendant and his co-conspirators would
purchase credit and debit card account numbers issued by federally insured banks that actually
belonged to victims of identity theft, and would produce counterfeit debit and credit cards using
that information, which they would use to make purchases, including of money orders.
Defendant’s co-conspirators would send him money orders purchased with the stolen account
numbers, which defendant would negotiate using a false name. Defendant would then use the
cash proceeds to purchase Bitcoin to send to his co-conspirators their share of the proceeds of the
fraud. Federally-insured financial institutions defrauded out of millions of dollars as a result of
this conspiracy include Wells Fargo, Chase, Navy Federal Credit Union, U.S. Bank, PNC Bank,
Bancorp, and Bank of America.

Count Two (18 U.S.C. § 1028A)

Beginning in or before 2017, and continuing through at least May 8, 2019, in Los
Angeles County, within the Central District of California, and elsewhere, defendant ANDRY
PAULINO, a.k.a. “Roberto Diaz,” knowingly transferred, possessed, and used, without lawful
authority, a means of identification of another person during and in relation to a felony violation
of Title 18, United States Code, Section 1349, Conspiracy to Commit Bank Fraud, as charged in
Count One, knowing that the means of identification belonged to another actual person.

 
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AFFIDAVIT

 

I, Sherine D. Ebadi, being duly sworn and under oath, hereby
depose and say as follows:

INTRODUCTION

1. I am a Special Agent (“SA”) of the Federal Bureau of
Investigation (“FBI”) assigned to the Long Beach Resident Agency of
the Los Angeles Division... I have been employed with the FBI as an SA
since 2009. I am currently assigned to the White Collar Crimes
Squad, where I specialize in the investigation of complex financial
crimes, including bank fraud, wire fraud, identity theft, investment
fraud, securities fraud, and money laundering. In addition to
conducting numerous fraud investigations during my career, I have
received both formal and informal training from the FBI and other
entities regarding violations of various fraud statutes.

PURPOSE OF AFFIDAVIT: ARRESTS AND SEARCH WARRANTS

2. This affidavit is made in support of a criminal complaint
against and arrest warrant for ANDRY PAULINO, also known as Roberto
Diaz (“PAULINO”), for conspiracy to commit bank fraud and aggravated
identity theft, in violation of Title 18, United States Code,
Sections 1349 and 1028A. This affidavit is also made in support of
search warrants for PAULINO’s person, residence, and vehicle for
evidence of the same violations as well as wire fraud and money
laundering, as set forth in Attachment B.

3. The information set forth in this affidavit is based upon
my participation in the investigation, encompassing my personal
knowledge, observations and experience, as well as information
obtained through my review of evidence, investigative reports, and
information provided by others, including other law enforcement

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partners. As this affidavit is being submitted for the limited
purpose of securing the requested warrants, I have not included each
and every fact known to me concerning this investigation. I have set
forth only the facts that I believe are necessary to establish
probable cause for the requested warrants.
PREMISES TO BE SEARCHED

4, The premises to be searched (collectively, the “SUBJECT
PREMISES”) are described as follows:

a. ANDRY PAULINO, date of birth March 14, 1991 is
approximately 6 feet tall, medium build, with black hair and brown
eyes. PAULINO is further identified by his California driver’s
license number Y¥2727506 and United States passport number 585268295.
PAULINO utilizes the alias of Roberto Diaz. PAULINO also utilizes
the date of birth December 24, 1990 and California driver’s license
F5288631 for his alias. PAULINO may be using additional aliases such
as Manuel Rivera, George Rodriguez, Carlos Gomes, Randy Perez, Julio
Reyes, Val Bundy, or Al Ruiz.

b. APARTMENT 7006 AND PARKING SPACE 906, THE ORSINI
APARTMENT COMPLEX, 550 N. FIGUEROA ST., LOS ANGELES, CALIFORNIA 90012
(“PAULINO’S APARTMENT”). PAULINO’S APARTMENT is located in the
Orsini Phase II building located on the east side of Figueroa St.
just south of Sunset Blvd. PAULINO’S APARTMENT is further identified
by the numbers “7006” in black numbering affixed to the wall on the
right side of the apartment’s entry door. The exterior of the
building housing PAULINO’S APARTMENT is tan/beige in color with dark
colored metal railing on the balconies. The exterior of the building
is further marked with the letters “550” and a sign which reads
“ORSINI”. The bottom portion of the building is red brick. The

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premises to be searched includes the vehicle in the assigned parking
space for PAULINO’S APARTMENT, which is located on the upper level of
a two-level subterranean parking garage and is entered through a
gated driveway located on the east side of Figueroa St., just south
of Sunset Blvd. PAULINO’s parking space is further identified with
the numbers “906” painted on the ground.

Cc. THE BLACK HONDA 4-DOOR SEDAN WITH CALIFORNIA LICENSE
PLATE 7RRJ847 (“PAULINO’S VEHICLE”).

PAULINO’S MONEY ORDER FRAUD SCHEME

PAULINO’s Cashed Almost $1.4 Million in Money Orders Using an Alias

5. Between at least January 30, 2017 and August 1, 2018,
approximately $1.396 million in money orders made payable to “Roberto
Diaz” were cashed. At least $465,830 of these money orders were
purchased from Western Union (“WU”), at least $610,139 were purchased
from MoneyGram (“MG”) and at least $320,075 were purchased from the
United States Postal Service (“USPS”) (Collectively known as “The
Diaz Money Orders”). I reviewed documentation received from MG which
revealed that the money orders were purchased at locations across the
United States to include Illinois, Indiana, Michigan, California,
Virginia, Maryland, Pennsylvania, and Ohio. I reviewed information
received from USPS which revealed the money orders were purchased at
locations across the United States to include Illinois, Indiana,
Michigan, Georgia, and Washington, DC. Information on purchase
location has not yet been received from WU.

6. All but $30,505 of The Diaz Money Orders were cashed at
check cashing businesses in Canoga Park, Sherman Oaks, and Los
Angeles. I reviewed surveillance photographs and documentation
obtained from the check cashing businesses in Canoga Park, Sherman

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Oaks and Los Angeles which showed that PAULINO was the individual who
cashed these money orders. PAULINO provided a falsified California
driver’s license in the name of Roberto Diaz with PAULINO’s
photograph but number F5288631 and date of birth December 24, 1990.
According to the California Department of Motor Vehicles (“DMV”),
driver’s license number F5288631 is assigned to a female hereby
identified as “J.H.”. My partner interviewed JH and learned that she
did not. know PAULINO, aka Diaz, and did not give him or anyone else
authority to utilize her driver’s license number.

7. Surveillance photographs from the check cashing business in
Canoga Park further showed that on at least one occasion, PAULINO
drove to the check cashing location in a black colored Honda sedan
with California license plate number 7RRJ847. According to the DMV,
this vehicle is registered to PAULINO (“PAULINO’s VEHICLE”).

8. Between August 20, 2018 and December 8, 2018, pursuant to
an authorized search warrant, the Los Angeles Police Department
(“LAPD”) installed a GPS tracker on PAULINO’s VEHICLE. During this
period of time, PAULINO’s VEHICLE was observed at MG, USPS and WU
locations in and around Los Angeles. In addition, PAULINO’s VEHICLE
was observed at a commercial mail service business called Mail
Monster located at 941 S. Vermont Ave., Los Angeles, California.

9. I reviewed documents received from Mail Monster which
revealed that mailbox #34 was maintained by “Roberto Diaz”. A copy
of the fraudulent California driver’s license F5288631 in the name of
Roberto Diaz, but with PAULINO’s picture was provided to Mail Monster
with a mailbox application. On the mailbox application, “Diaz”

provided a date of birth December 24, 1990.

 

 
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Stolen Debit Cards Were Used to Purchase Diaz’s Money Orders
Roanoke County Police Department

10. I reviewed documents received from Roanoke County Police
Department in Virginia which showed that on December 7, 2017, victim
“K.W.’s” debit card information was used without K.W.’s knowledge
and/or consent to purchase six money orders: four for $1,000 each
with serial numbers 50739089376, 50739089387, 24744329087, and
24744329076; one for $950 with serial number 24744329043; and one for
$990 with serial number 24744329098 for a total of $5,940. These
money orders were purchased from a USPS in Paxtonville, Pennsylvania
and were made payable to “Roberto Diaz”.

11. Per Detective Van Patten of the Roanoke County Police
Department, Inspector Melissa McAlister of the USPS provided
information that the six money orders purchased with K.W.’s stolen
credit card were cashed by “Roberto Diaz” at a check cashing store in
Canoga Park, California.

Navy Federal Credit Union

12. I reviewed documents received from Navy Federal Credit
Union (“NFCU”) which showed that on March 10, 2018 victim “M.G.’s”
personal identifying information (“PII”) was used to obtain a $30,000
loan. On that same day, an unknown individual identified as a “light
skinned, black male” went to the NFCU branch in Stockbridge, Georgia, |
showed a Florida driver’s license number G650557821730 in M.G.’s name
and withdrew the $30,000 from M.G.’s loan. The individual took
$10,000 in cash and used $20,000 to open account ending in X5483 at
NFCU. On March 13, 2018, the debit card associated with account

X5483 was used to make a purchase at a USPS location in Decatur,

 

 
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Georgia for $2,904.95 and at a USPS location in Atlanta, Georgia for
$1,001.65.

13. I reviewed information provided by USPS Inspector
Christopher Zito which showed that on March 12-13, 2018, victim
M.G.’s stolen debit card was used to purchase five money orders at
USPS locations in Decatur and Atlanta, Georgia: four for $1,000 each
with serial numbers 24918858628, 24918858617, 25060605276, and
25060605265; and one for $900 with serial number 24918858630 for a
total of $4,900. These money orders were made payable to “Roberto
Diaz” and were cashed at a check cashing store in Canoga Park.

Mount Prospect Police Department |

14. ° I reviewed information provided by Mount Prospect Police
Department which showed on July 5, 2018, victim “A.B.’s” debit card
information was used without his knowledge and/or authorization to
purchase two MG money orders from a Walmart in Mount Prospect,
Tllinois. Per Detective Mavranganis of Mount Prospect. Police
Department, the money orders purchased were for $1,000 and $300 with
serial numbers 20805511885 and 20805511886. These money orders were
subsequently cashed by “Roberto Diaz” at a check cashing location in
Canoga Park on July 9, 2018.

15. On July 6, 2018, victim “K.M.’s” debit card information was
used without her knowledge and/or authorization to purchase three MG
money orders from a Walmart in Mount Prospect, Illinois. . Per
Detective Mavranganis, two of the money orders purchased were for
$1,000 and one was for $900, further identified by serial numbers
20805511906, 20805511907 and 20805511908. These money orders were
subsequently cashed by “Roberto Diaz” at a check cashing location in

Canoga Park.

 

 
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PAULINO’S IDENTITY THEFT AND CREDIT CARD FRAUD SCHEMES
State Search Warrant at PAULINO’s APARTMENT Reveals Evidence of Fraud

16. On April 3, 2019, pursuant to an authorized search warrant,
Detectives from the LAPD executed search warrants on PAULINO’S
APARTMENT, person, and PAULINO’S VEHICLE. Items seized during that
search warrant indicate PAULINO and others were involved in identity
theft and credit card fraud schemes, as described below.

17. Among the items seized was PAULINO’s wallet which contained
four re-encoded credit cards each of which showed PAULINO’s name and
a 16-digit account number on the front of the card which did not
match the name and 16-digit account number on the magnetic strip.

18. Notably, several months earlier, on October 25, 2018,
PAULINO was arrested by the Los Angeles County Sheriff’s Department
(“LASD”) for possessing re-encoded credit cards, in violation of
Penal Code section 484 e(d) (Unauthorized Use of an Access Card).
According to LASD reports I reviewed, PAULINO provided a credit card
which had PAULINO’s name and a card number ending in #9409 embossed
on the front of the card to purchase the ticket to Universal Studios.
The teller noted that the receipt for the transaction showed a card
number ending in #0715, which did not match the number embossed on
the front of the card. The teller notified LASD. LASD Deputies
confirmed the information on the magnetic strip of the card did not
match the name and number embossed on the outside of the card.
Incident to arrest, Deputies searched PAULINO and found an additional
card in PAULINO’s wallet which had PAULINO’s name and an account
number embossed on the outside of the card which did not match the

name and account number on the magnetic strip. PAULINO was later

 

 
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released on bond in this matter and is scheduled to appear in Los
Angeles Superior Court on May 14, 2019.

19. Also seized during LAPD’s search of PAULINO’s home on April
3, 2019, was approximately $86,000 in cash, four cellular telephones
and a 40 caliber Glock pistol which was reported stolen out of
Houston, Texas.

PAULINO Admitted to the Fraud

20. During the execution of the LAPD search warrant on April 3,
2019, I interviewed PAULINO. PAULINO was provided with his Miranda
Rights which he waived and made the following statements:

a. PAULINO utilizes the alias Roberto Diaz and maintains
a mailbox in Diaz’s name at Mail Monster located at 941 S. Vermont
#34, Los Angeles, California.

b. PAULINO received money orders in the name of Diaz from
co-conspirators sometimes via mail to Mail Monster and sometimes in
person. «PAULINO cashed the money orders and kept approximately 20%
of the proceeds for himself. PAULINO transferred the remaining 80%
of the proceeds to his co-conspirators via Bitcoin. PAULINO’s co-
conspirators send him their Bitcoin wallet addresses which were
usually composed of 30 alpha numeric character strings.

Cc. PAULINO has not had any employment or source of income
for approximately 4 years since he left New York.

d. The approximately $86,000 in cash, the four cellular
telephones and the.Glock 22 seized by the LAPD belonged to PAULINO.
PAULINO stated the Glock 22 was not registered and that he had
purchased it from someone he found on Craigslist in Arizona and later
brought it to California.

PAULINO’s Cellular Telephones Revealed Additional Evidence of Fraud

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21. Pursuant to the LAPD search warrant, Detectives from the
LAPD and I reviewed PAULINO’s four cellular telephones and uncovered
additional evidence of PAULINO’s fraud schemes.

22. Found in the “Notes” section of one of PAULINO’s phones was
a list of names and addresses including:

Roberto Diaz 180 S. Western Ave. #52, Los Angeles

Roberto Diaz 941 S. Vermont Ave. #101-34, Los Angeles

Randy Perez 16060 Ventura Blvd. #110-327, Encino

Carlos Gomez 11693 San Vicente #497, Los Angeles

Manuel Rivera 115 W. California #251, Pasadena

George Rodriguez 2245 E. Colorado #104-179, Pasadena

23. Each of these addresses correspond to a mail box service
business as described below:

a. I reviewed information provided by the Koko Group for

a mailbox located at 180 S. Western Ave. #52, Los Angeles, California
which was assigned to Roberto Diaz, phone number (747)300-6259 and

email address drep314@gmail.com.

 

b. I reviewed information provided by Mail Monster for a
mailbox located at 941 S. Vermont Ave. #101-34, Los Angeles,
California which was assigned to Roberto Diaz, California driver's
license number F5288631 and telephone number (747) 300-6259.

on I reviewed information provided by Post Pack & Ship
for a mailbox located at 115 W. California #251, Pasadena, California
which was assigned to Manuel Rivera, Illinois driver’s license
L32029388601, phone number (747)300-6259 and email address”

drep31l4@gmail.com. A copy of “Rivera’s” driver’s license showed a

 

picture of PAULINO with the name “Manuel Rivera” and date of birth
June 13, 1991. I noted that the phone number and email address

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provided to Post Pack & Ship for “Manuel Rivera” were the same as the
phone number and email address provided--to the Koko Group for
“Roberto Diaz”.

d. I reviewed information provided by The Postmaster for
a mailbox located at 2245 E. Colorado Ave. #104-179, Pasadena,
California which was assigned to George Rodriguez, Illinois driver’s
license L320293886010 and phone number (747)300-6259. The Postmaster
did not have a copy of Rodriguez’s driver’s license, however, I noted
that the Illinois driver’s license number provided to The Postmaster
for “George Rodriguez” was the same number provided to Post Pack &
Ship for “Manuel Rivera”. In addition, the phone number provided to
The Postmaster for “George Rodriguez” was the same as the phone
number provided to The Koko Group and Mail Monster for “Roberto Diaz”
and to Post Pack & Ship for “Manuel Rivera”.

e. I have not yet received information regarding mailbox
number 327 in the name of Randy Perez from Bizzy Box located at 16060
Ventura Blvd #110, Encino or regarding mailbox number 497 in the name
of Carlos Gomez from Brentwood Mailbox Center located at 11693 San
Vicente Blvd., Los Angeles.

24. Found on one of PAULINO’s cellular phones was an app called
AirPay. Linked to this AirPay app was a Visa credit card number
ending in X9718. I received documentation from Bancorp Bank that the
account ending in X9718 belonged to an individual hereby identified
as “T.F.”%. Bancorp Bank’s documents further indicated the T.F. had
reported his credit card stolen in January 2017 due to charges
exceeding $12,000 which had not been authorized by T.F.

25. Also found on PAULINO’s phones was evidence that PAULINO
was utilizing encrypted third party apps, such as ICQ and Telegram to

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communicate with co-conspirators about his fraud. Examples of these
communications are summarized below:

a. PAULINO communicated with an individual identified by
the user name “Julio Reyes” and ICQ number. 682-435-578 about stolen
credit card numbers among other things. In many of these
communications, Reyes sent PAULINO batches of credit/debit card
account numbers, card holder names, account usernames, passwords and
other PII. Between May 1, 2017 and January 16, 2019, Reyes sent
PAULINO approximately 150 credit/debit card account numbers with

cardholder names, expiration dates, and CCV numbers. Reyes also sent

| PAULINO five different 30+ alpha numeric strings which appear to be

Bitcoin wallet addresses.

b. PAULINO communicated with an individual identified by
the user name “Gmunna” and ICO number 516-474-4834 about stolen
credit/debit card numbers and bank account profiles. For example, on.
January 22, 2018, Gmunna sent PAULINO five names, debit card numbers
and PINs ending in X6081, X7104, X2196, X3975 and X7730. PAULINO
then sent Gmunna photographs of ATM receipts which corresponded to
the names and debit card numbers Gmunna provided showing that some of
the cards worked while others did not.

on (I received documentation from U.S. Bank which showed
the debit cards ending in X6081 and X7104 referred to above actually
belonged to individuals hereby identified as “D.S.” and “B.C.”
respectively. Both D.S. and B.C. reported the accounts stolen due to
more than $11,000 in charges which were unauthorized. I also received
documentation from PNC Bank which showed the debit cards ending in

X%2196, X3975 and X7730 referred to above belonged to individuals

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hereby identified as “M.P.”, “E.H.” and “A.S” respectively. Further
information regarding these accounts has not yet been received.)

d. On January 24, 2018, Gmunna asked PAULINO how much it
cost to have a card re-encoded and PAULINO replied that he charged
$12 per card. Gmunna sent PAULINO five different credit/debit card
numbers and asked PAULINO to re-encode them for the name Jerel
Washington Brown.

e. PAULINO communicated with an individual identified as
“PUN” on ICO regarding stolen debit card accounts. Between March
24, 2017 and March 14, 2018 PAULINO sent PUN more than 50 debit card
account numbers, most of which included a PIN number, too. On March
24, 2017, PAULINO told PUN to “start 500$ swipe..after check cards at
atm that declined..when done send 60% share”. |

f. On August 17, 2017, PAULINO explained to PUN how the
proceeds are divided, “The plug get 60%, 10% goes to bit [Bitcoin],
10% to the worker..We only left with 20%”. On August 19, 2017,
PAULINO sent PUN a photograph of a Bitcoin transaction which showed
$8,176.18 was transferred to a Bitcoin wallet ending in “J5ddz7”.

g. In September and October 2017, PAULINO sent PUN a
series of messages which indicate PAULINO was making re-encoded cards
himself. For example, on September 16, 2017, PAULINO wrote, “cooked
up ones ending in 3268, 7009, 7521, 1695 for marv n his cuzin’; on
September 26, 2017, PAULINO wrote, “cooked up 8712, 5733, 4653” and
then “machine is down right now..gotta fix it”; and on September 30,
207, PAULINO wrote “cooked up 7898 and 7709”.

h. PAULINO communicated with an entity identified by the
user name “san-wells” on Telegram about stolen identities as well as
credit/debit card information. Open source information indicates

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that san-wells is a market place operating on the deep web, or
darknet, which sells stolen credit/debit card information and
personal identifying information. Messages received by PAULINO’s
Telegram account from san-wells include advertisements of what
information is for sale. For example; on January 24, 2019, PAULINO
received a message from “san-wells” on Telegram which read as
follows:

“Section: CC

ID: 2029

Name: Bank Account with CC + [SSN and DOB] + [Email Access]

Seller: ComputerVirus (NEW)

Section: Bank acctEmail Access
ID: 2043
Name: Chase.com + [Email Access] + [Full AN + RN]

Seller: AquaMan

Section: Payment Systems

ID: 2048

Name: Paypal.com [Email Access]

Seller: AquaMan”

i. PAULINO communicated with an individual identified as
“AmandaRDU”. and ICQ number 656-201-519 about hacking AT&T and Verizon
accounts for the purpose of ordering iPhones and charging them to
victim accounts. On December 5, 2018, AmandaEDU instructed PAULINO
to “start small..go in apple with pin and just upgrade to new iphone”
and “place upgrade over the phone..ship to any address”. AmandakDU
told PAULINO that she has the items shipped to hotels where she can

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pick them up. AmandaEDU further tells PAULINO that “u gotta do
quantity so u don’t lose..like if I put out 20 phones..and only 5 land
im not tripping cuz its 5k and I make my expenses back..really a
numbers game...”

5. PAULINO also communicated with an individual on
Telegram identified as “Diamond Dallas” about hacking AT&T accounts
for the purpose of ordering iPhones and charging them to the victim
accounts. For example, on January 18, 2019, Dallas sent PAULINO five
AT&T profiles including user name, email, account number and
password. Dalilas told PAULINO to pay him $40 each for the profiles.

Dallas described to PAULINO that he had 34 phones shipped to hotels

“yesterday”.

k. On January 19, 2019, Dallas wrote PAULINO that he was
having “some packs [packages] landing out in LA today” and he asked
if PAULINO could pick them up for him at a Radisson Suites in Buena
Park. PAULINO agreed and told.-Dallas to tell the hotel that “Roberto
Diaz” was the person picking up the packages. Later, PAULINO
confirmed picking up the packages.

i. On January 24, 2019, PAULINO complained to Dallas that
he “did 4 yesterday and only one got shipped..others cancelled”.
Dallas recommended that PAULINO try changing his “ip address”,
“logging on thru a hotspot” and “switch ‘browser... safari... chrome...
Mozilla” to fix the problem.

m. PAULINO communicated with an, individual identified as
“SupeR” and ICQ number 690-764-805 about hacking Visa and Mastercard
to conduct large scale heists. For example, on August 11, 2018,
SupeR tells PAULINO, “VERY IMPORTANT: you should get cash in atm
maximum $3k from each pc, be sure not to get more than $3k from one

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pc, otherwise you[r] area will get blocked and you’1l be unable to
cash out other pcs!!!” Later that day, SupeR asks PAULINO, “how are
you? Why so long? We only have two hours left..need to make as much as
possible for this time...” PAULINO responds that some of the cards
were declined and he has tried other banks and ATMs, but the cards
are not working. SupeR tells PAULINO, “We are finishing with visa
for today and 15 hours from now we’1ll work with mc [Mastercard]..” and
“this work is supposed to be done very fast to be able to get as much
cash as possible..we can’t hold it for long time cuz antifraud is
acting fast...” PAULINO responds with “Ok got it, I will be ready in
15 hours”.

n. On August 20, 2018, SupeR writes PAULINO, “I have some
work to try..in what state are you now?” PAULINO responds,
“California”. SupeR then tells PAULINO to “check balance in atm and

try to pull 200-1000 till decline cuz banks are different and have

different limits then you should swipe 500-990 till decline (same

reason) better to start in am not to have a big pause between pull
and swipe”. PAULINO responds, “Ok so try them in the am 2morrow?”
On August 21, 2018, PAULINO writes SupeR, “Ali 5 pcs unable to do
transaction, I went to 3 different banks wells, bofa, and chase...”
Facts Bearing on Flight Risk and Danger

26. PAULINO operates under false identities, namely, PAULINO
utilizes at least three aliases Roberto Diaz, Manuel Rivera and
George Rodriguez to: send,and receive mail. PAULINO has falsified
driver’s licenses for each of these three aliases. Furthermore,
based upon information found in the “Notes” section of PAULINO’s
phones, it is likely that he also utilizes the aliases Carlos Gomez

and Randy Perez.

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27.  PAULINO told me he was born in the Dominican Republic and
is a naturalized US Citizen. I know that the Dominican Republic
recognizes dual citizenship and therefore PAULINO would not have lost
his Dominican Republic citizenship when he became a US citizen.
During the search of PAULINO’s APARTMENT by the LAPD, PAULINO’s US
passport was found, but a Dominican Republic passport was not
located.

28. PAULINO does not appear to take court appearances
seriously. PAULINO was scheduled to appear in state court in the
case involving the re-encoded cards PAULINO possessed at Universal
Studios at 8:30 AM on April 3, 2019, the same day the LAPD executed
the search warrants on PAULINO’s residence and vehicle. For officer
safety, LAPD Detectives hoped to execute the warrants after PAULINO
left his apartment, and so waited for him to leave for his court
appearance. By 8:15am, it was clear that PAULINO would already have
had to have left his apartment to have any possibility of making it
to court on time, so the LAPD executed the search warrants and found
PAULINO inside the residence. When I interviewed PAULINO that day, I
asked him why he did not make his court appearance that morning and
he told me he did not know he had a court appearance that day. I
later learned from LAPD Detectives that PAULINO’s failure to appear
for court on April 3, 2019 resulted in a bench warrant being issued.
However, PAULINO’s attorney was able to have the bench warrant
removed: by claiming that PAULINO did not make the court appearance
due to the search warrants executed by the LAPD.

29, I reviewed records related to PAULINO’s border crossings
using his US passport which revealed that he traveled by plane to Los
Cabos, Mexico from March 13-16, 2019 and to the Dominican Republic

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from February 13-20, 2019. In addition, on August 26, 2018, PAULINO
traveled by car from Mexico to the US, entering at the San Ysidro
border crossing.

30. Text messages on PAULINO’s phone revealed a group chat
entitled “CIP NIP”. When I asked PAULINO what “CIP NIP” meant, he
told me “Crip in Peace, Nipsey”. It appears, therefore, that PAULINO
at least associates with gang members.

31. PAULINO has no legitimate source of income. PAULINO told
me that he has not been employed for four years and had no source of
income. Despite this, approximately $86,000 was found in cash in his
residence. Based upon PAULINO’s own admission, he transfers 80% of
his criminal proceeds to his co-conspirators and only keeps 20%.
Furthermore, PAULINO told me that he both sends and receives criminal
proceeds via Bitcoin. Based upon my training and experience,
criminals only keep a portion of their cash in their residences as it
is more likely to be stolen by other criminals or seized by the
government. Therefore, I believe the cash found in PAULINO’s
residence was only a small portion of his available cash. Based upon
the fact that PAULINO admitted to using Bitcoin and the fact that
apps related to Bitcoin and Ether (another crypto-currency similar to
Bitcoin) were found on PAULINO’s phones, I believe that PAULINO has
access to large sums of money which are difficult to trace.

Evidence of Money Laundering Will Likely Be Found
Despite the Earlier Search Warrants

32. The search warrants executed on PAULINO’S APARTMENT and
PAULINO’S VEHICLE on April 3, 2019, yielded much evidence of the
fraud scheme, as previously recounted. Notwithstanding those
searches, I believe additional evidence of the scheme, and of the

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laundering of its proceeds, will be found at those same locations for
the following reasons:

a. PAULINO told me that he has not had any legitimate
employment for the last four years. Further, the LAPD took his stash
of $86,000 in cash during their April 3, 2019 search. Because he has
no legitimate income and the LAPD took his stash of cash, PAULINO
will be under pressure to generate money for living expenses. Given
his history of fraud, including his history of committing fraud while
on bond in another fraud case, I think it is very likely that he will
return to what he knows to generate money quickly: buying and
selling stolen access device numbers and personal identifying
information, and negotiating money orders and similar checks which
represent the proceeds of such frauds.

b. Even if PAULINO decided not to commit new crimes and
found a legitimate source of income, the messages on his digital
devices suggest that he would still need to communicate with his co-
conspirators just to end the deals he had previously negotiated. For
example, I found communications regarding tasks PAULINO was supposed
to perform for his co-conspirators and vice versa, as well as ones
regarding dividing up the proceeds. In my training and experience,
criminals with many contacts value those contacts—and their
reputations—and so are likely to try to honor pre-existing
obligations, collect or pay outstanding debts, and explain why they
have been incommunicado or warn their co-conspirators of an.
investigation.

on PAULINO’s Bitcoin, or other crypto-currency has not
yet been located or seized by the LAPD or FBI. Bitcoin exist as
entries in a ledger on the blockchain. Most Bitcoin users set up

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their accounts so that they can access them even if their digital
device fails or is stolen. I believe it is very likely, therefore,
that PAULINO will attempt to access the Bitcoin he had when we
executed the search. Such access would require a digital device,
which he would likely keep with him, such as a smart phone, or keep
in his car or his residence, such as a computer. PAULINO’s attempt
to move the proceeds of his fraud which are stored as Bitcoin would
constitute and be evidence of money laundering.
d. PAULINO appears to have returned to PAULINO’S
APARTMENT in PAULINO’S VEHICLE. PAULINO’S APARTMENT costs more than
$2000 per month, according to the management of the Orsini complex.
Notwithstanding this expense, PAULINO appeared not to use PAULINO’S
APARTMENT for weeks after the April 3, 2019 search warrant, possibly
because he feared arrest; Detective Shinfeld told me he repeatedly
went by PAULINO’S APARTMENT but saw no vehicle in its assigned
parking space. However, on April 29, 2019, Detective Shinfeld saw,
that PAULINO’S VEHICLE was back in the assigned space for PAULINO’S
APARTMENT, so it appears that PAULINO has returned to his apartment.
Detective Shinfeld told me that he learned from management at the
Orsini apartment complex that PAULINO paid his May rent with a money
order, suggesting he may still be receiving proceeds of the bank
fraud conspiracy in that form.
Training and Experience Regarding Fraud:

33. Individuals involved in identity. theft schemes like this
one must keep evidence of their schemes, such contact information for
their co-conspirators, lists of victim information and accounts used

in the scheme, simply to keep the scheme going. Much of this

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evidence is now stored on digital devices such as computers and
smartphones.

34. Specifically, information found on PAULINO’s phones
indicate he utilizes access devices and accounts in other identities
as well as crypto-currency. Furthermore, PAULINO’s communication
with co-conspirators using encrypted apps also referenced the use of
the deep web or dark net which is commonly accessed on digital
devices through a “TOR” (The Onion Ring) browser. For example, on
January 18, 2019 using Telegram, PAULINO told an individual
identified as “Laurent” to “download tor browser”. I know from my
training and experience that a TOR browser allows an individual to
search the deep web or dark net anonymously.

TRAINING AND EXPERIENCE ON DIGITAL DEVICES

35. As used herein, the term “digital device” includes any
electronic system or device capable of storing or processing data in
digital form, including central processing units; desktop, laptop,
notebook, and tablet computers; personal digital assistants; wireless
communication devices, such as telephone paging devices, beepers,
mobile telephones, and smart phones; digital cameras; gaming consoles
(including Sony PlayStations and Microsoft Xboxes); peripheral
input/output devices, such as keyboards, printers, scanners,
plotters, monitors, and drives intended for removable media; related
communications devices, such as modems, routers, cables, and
connections; storage media,. such as hard disk drives, floppy disks,
memory cards, optical disks, and magnetic tapes used to store digital
data (excluding analog tapes such as VHS); and security devices.
Based on my knowledge, training, and experience, as well as
information related to me by agents and others involved in the

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forensic examination of digital devices, I know that data in digital
form can be stored on a variety of digital devices and that during
the search of a premises it is not always possible to search digital
devices for digital data for a number of reasons, including the
following:

a. Searching digital devices can be a highly technical
process that requires specific expertise and specialized equipment.
There are so many types of digital devices and software programs in
use today that it is impossible to bring to the search site all of
the necessary technical manuals and specialized equipment necessary
to conduct a thorough search. In addition, it may be necessary to
consult with specially trained personnel who have specific expertise
in the types of digital devices, operating systems, or software
applications that are being searched.

b. Digital data is particularly vulnerable to inadvertent
or intentional modification or destruction. .Searching digital
devices can require the use of precise, scientific procedures that
are designed to maintain the integrity of digital data and to recover
“hidden,” erased, compressed, encrypted, or password-protected data.
As a result, a controlled environment, such as a law enforcement
laboratory or similar facility, is essential to conducting a complete
and accurate analysis of data stored on digital devices.

Cc. The volume of data stored on many digital devices will
typically be so large that it will be highly impractical to search
for data during the physical search of the premises. A single
megabyte of storage space is the equivalent of 500 double-spaced
pages of text. A single gigabyte of storage space, or 1,000
megabytes, is the equivalent of 500,000 double-spaced pages of text.

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Storage devices capable of storing 500 or more gigabytes are now
commonplace. Consequently, just one device might contain the
equivalent of 250 million pages of data, which, if printed out, would
completely fill three 35’ x 35’ x 10’ rooms to the ceiling. Further,
a 500 gigabyte drive could contain as many as approximately 450 full
run movies or 450,000 songs.

d. Electronic files or remnants of such files can be
recovered months or even years after they have been downloaded onto a
hard drive, deleted, or viewed via the Internet.! Electronic files
saved to a hard drive can be stored for years with little or no cost.
Even when such files have been deleted, they can be recovered months
or years later using readily-available forensics tools. Normally,
when a person deletes a file on a computer, the data contained in the
file does not actually disappear; rather, that data remains on the
hard drive until it is overwritten by new data. Therefore, deleted
files, or remnants of deleted files, may reside in free space or
slack space, i.e., space on a hard drive that is not allocated to an
active file or that is unused after a file has been allocated to a
set block of storage space, for long periods of time before they are
overwritten. In addition, a computer’s operating system may also
keep a record of deleted data in a swap or recovery file. Similarly,
files that have been viewed on the Internet are often automatically
downloaded into a temporary directory or cache. The browser
typically maintains a fixed amount of hard drive space devoted to

these files, and the files are only overwritten as they are replaced

 

 

 

1 These statements do not generally apply to data stored in
volatile memory such as random-access memory, or “RAM,” which data
is, generally speaking, deleted once a device is turned off.

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with more recently downloaded or viewed content. Thus, the ability
to retrieve residue of an electronic file from a hard drive depends
less on when the file was downloaded or viewed than on a particular
user’s operating system, storage capacity, and computer habits.
Recovery of residue of electronic files from a hard drive requires
specialized tools and a controlled laboratory environment. Recovery
also can require substantial time.

e. Although some of the records called for by this
warrant might be found in the form of user-generated documents (such
as word processing, picture, and movie files), digital devices can
contain other forms of electronic evidence as well. In particular,
records of how a digital device has been used, what it has been used
for, who has used it, and who has been responsible for creating or
maintaining records, documents, programs, applications and materials
contained on the digital devices are, as described further in the
attachments, called ffor by this warrant. Those records will not.
always be found in digital data that is neatly segregable from the
hard drive image as a whole. Digital data on the hard drive not
currently associated with any file can provide evidence of a file
that was once on the hard drive but has since been deleted or edited,
or of a deleted portion of a file (such as a paragraph that has been
deleted from a word processing file). Virtual memory paging systems
can leave digital data on the hard drive that show what tasks and
processes on the computer were recently used. Web browsers, e-mail
programs, and chat programs often store configuration data on the
hard drive that can reveal information such as online nicknames and
passwords. Operating systems can record additional data, such as the
attachment of peripherals, the attachment of USB flash storage

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devices, and the times the computer was in use. Computer file
systems can record data about the dates files were created and the
sequence in which they were created. This data can be evidence of a
crime, indicate the identity of the user of the digital device, or
point. toward the existence of evidence in other locations. Recovery
of this data requires specialized tools and a controlled laboratory
environment, and also can require substantial time.

f. Further, evidence of how a digital device has been
used, what it has been used for, and who has used it, may be the
absence of particular data on a digital device. For example, to
rebut a claim that the owner of a digital device was not responsible
for a particular use because the device was being controlled remotely
by malicious software, it may be necessary to show that malicious
software that allows someone else to control the digital device

remotely is not present on the digital device. Evidence of the

absence of particular data on a digital device. is not segregable from.

the digital device. Analysis of the digital device as a whole to
demonstrate the absence of particular data requires specialized tools
and a controlled laboratory environment, and can require substantial
time.

g. Digital device users can attempt to conceal data
within digital devices through a number of methods, including the use
of innocuous or misleading filenames and extensions. For example,
files with the extension “.jpg” often are image files; however, a
user can easily change the extension to “.txt” to conceal the image
and make it appear that the file contains text. Digital device users
can also attempt to conceal data by using encryption, which means
that a password or device, such as a “dongle” or “keycard,” is

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necessary to decrypt the data into readable form. In addition,
digital device users can conceal data within another seemingly
unrelated and innocuous file in a process called “steganography.”
For example, by using steganography a digital device user can conceal
text in an image file that cannot be viewed when the image file is
opened. Digital devices may also contain “booby traps” that destroy
or alter data if certain procedures are not scrupulously followed. A
substantial amount of time is necessary to extract and sort through
data that is concealed, encrypted, or subject to booby traps, to
determine whether it is evidence, contraband or instrumentalities of
a crime. In addition, decryption of devices and data stored thereon
is a constantly evolving field, and law enforcement agencies
continuously develop or acquire new methods of decryption, even for
devices or data that cannot currently be decrypted.

Request to Use Biometric Features to Unlock Digital Devices

36. Based on my training and experience, and knowledge of this
investigation as discussed previously, I believe that digital
devices, such as smartphones, will be found during the search.

a. I know from my training and experience and my review
of publicly available materials that several hardware and software
manufacturers offer their users the ability to unlock their devices
through biometric features in lieu of a numeric or alphanumeric
passcode or password. These biometric features include fingerprint-
recognition, face-recognition, iris-recognition, and retina-
recognition. Some devices offer a combination of these biometric
features and enable the users of such devices to select which

features they would like to utilize.

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b. Tf a device is equipped with a fingerprint scanner, a
user may enable the ability to unlock the device through his or her
fingerprints. For example, Apple Inc. (“Apple”) offers a feature on
some of its phones and laptops called “Touch ID,” which allows a user
to register up to five fingerprints that can unlock a device. Once a
fingerprint is registered, a user can unlock the device by pressing
the relevant finger to the device’s Touch ID sensor, which on a cell
phone is found in the round button (often referred to as the “home”
button) located at the bottom center of the front of the phone, and
on a laptop is located on the right side of the “Touch Bar” located
directly above the keyboard. Fingerprint-recognition features are
increasingly common on modern digital devices. For example, for
Apple products, all iPhone 5S to iPhone 8 models, as well as iPads
(5th generation or later), iPad Pro, iPad Air 2, and iPad mini 3 or
later, and MacBook Pro laptops with the Touch Bar are all equipped
with Touch ID. Motorola, HTC, LG, and Samsung, among other
companies, also produce phones with fingerprint sensors to enable
biometric unlock by fingerprint. The fingerprint sensors for these
companies have different names but operate similarly to Touch ID.

c. If a device is equipped with a facial-recognition
feature, a user may enable the ability to unlock the device through
his or her face. To activate the facial-recognition feature, a user
must hold the device in front of his or her face. The device’s
camera analyzes and records data based on the user’s facial
characteristics. The device is then automatically unlocked if the
camera detects a face with characteristics that match those of the
registered face. No physical contact by the user with the digital
device is necessary for the unlock, but eye contact with the camera

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is often essential to the proper functioning of these facial-
recognition features; thus, a user must have his or her eyes open
during the biometric scan (unless the user previously disabled this
requirement). Several companies produce digital devices equipped
with a facial-recognition-unlock feature, and all work in a similar
manner with different degrees of sophistication, e.g., Samsung’s
Galaxy S8 (released Spring 2017). and Note8 (released Fall 2017),
Apple’s iPhone X (released Fall 2017). Apple calls its facial-
recognition unlock feature “Face ID.” The scan and unlock process
for Face ID is almost instantaneous, occurring in approximately one
second.

d. While not as prolific on digital devices as
fingerprint- and facial-recognition features, both iris- and retina-
scanning features exist for securing devices/data. The human iris,
like a fingerprint, contains complex patterns that are unique and
stable. Iris-recognition technology uses mathematical pattern-
recognition techniques to map the iris using infrared light.
Similarly, retina scanning casts infrared light into a person’s eye
to map the unique variations of a person’s retinal blood vessels. A
user can register one or both eyes to be used to unlock a device with
these features. To activate the feature, the user holds the device
in front of his or her face while the device directs an infrared
light toward the user’s face and activates an infrared-sensitive
camera to record data from the person’s eyes. The device is then |
unlocked if the camera detects the registered eye. Both the Samsung
Galaxy S8 and Note 8 (discussed above) have iris-recognition
features. In addition, Microsoft has a product called “Windows
Hello” that provides users with a suite of biometric features

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including fingerprint-, facial-, and iris-unlock features. Windows
Hello has both a software and hardware component, and multiple
companies manufacture compatible hardware, e.g., attachable infrared
cameras or fingerprint sensors, to enable the Windows Hello features
on older devices.

37. In my training and experience, users of electronic devices
often enable the aforementioned biometric features because they are
considered to be a more convenient way to unlock a device than
entering a numeric or alphanumeric passcode or password. Moreover,
in some instances, biometric features are considered to be a more
secure way to protect a device’s contents.

38. I also know from my training and experience, as well as
from information found in publicly available materials including
those published by device manufacturers, that biometric features will
not unlock a device in some circumstances even if such features have
been enabled. This can occur when a device has been restarted.or
inactive, or has not been unlocked for a certain period of time. For
example, with Apple’s biometric unlock features, these circumstances
include when: (1) more than 48 hours has passed since the last time
the device was unlocked; (2) the device has not been unlocked via
Touch ID or Face ID in eight hours and the passcode or password has
not been entered in the last six days; (3) the device has been turned
off or restarted; (4) the device has received.a remote lock command;
(5) five unsuccessful attempts to unlock the device via Touch ID or
Face ID are made; or (6) the user has activated “SOS” mode by rapidly
clicking the right side button five times or pressing and holding
both the side button and either volume button. Biometric features
from other brands carry similar restrictions. Thus, in the event law

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enforcement personnel encounter a locked device equipped with

biometric features, the opportunity to unlock the device through a
biometric feature may exist for only a short time. I do not know
the passcodes of the devices likely to be found during the search.

39. In my training and experience, the person who is in
possession of a device or has the device among his or her belongings
at the time the device is found is likely a user of the device.
However, in my training and experience, that person may not be the
only user of the device whose physical characteristics are among
those that will unlock the device via biometric features (such as
with Touch ID devices, which can be registered with up to five
fingerprints), and it is also possible that the person in whose
possession the device is found is not actually a user of that device
at all. Furthermore, in my training and experience, I know that in
some cases it may not be possible to know with certainty who is the
user of.a given device, such as if the device is found in a common
area of a premises without any identifying information on the
exterior of the device. Thus, it will likely be necessary for law
enforcement to have the ability to require any individual who is
found at the SUBJECT PREMISES and reasonably believed by law
enforcement to be a user of the device to unlock the device using
biometric features in the same manner as discussed in the following
paragraph.

40. For these reasons, if while executing the warrant, law
enforcement personnel encounter a digital device that may be unlocked
using one of the aforementioned biometric features, the warrant I am
applying for would permit law enforcement personnel to, with respect
to every person who is located at the SUBJECT PREMISES during the

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execution of the search and who is reasonably believed by law
enforcement to be a user of a biometric sensor-enabled device that is
(a) located at the SUBJECT PREMISES and (b) falls within the scope of
the warrant: (1) compel the use of the person’s thumb- and/or
fingerprints on the device(s); and (2) hold the device(s) in front of
the face of the person with his or her eyes open to activate the
facial-, iris-, and/or retina-recognition feature. With respect to
fingerprint sensor-enabled devices, although I do not know which of
the fingers are authorized to access any given device, I know based
on my training and experience that it is common for people to use one
of their thumbs or index fingers for fingerprint sensors; and, in any
event, all that would result from successive failed attempts is the
requirement to use the authorized passcode or password.

41. Other than what has been described herein, to my
knowledge, the United States has not attempted to obtain this data by
other means. . ’

Federal Insurance

42. In my training and experience, all credit cards issued in
the United States are issued by federally insured financial
institutions. Further, in my training and experience all the
financial institutions mentioned in this affidavit are federally

insured.

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CONCLUSION
43. Based upon the foregoing facts and my training and
experience, I believe there is probable cause to believe that PAULINO
conspired to commit bank fraud and committed aggravated identity
theft in violation of Title 18, United States Code, Sections 1349 and
1028A, and that evidence of the violations listed in Attachment B

will be found at the SUBJECT PREMISES.

Sherine’D. adi, Special Agent
Federal Buréau of Investigation

Subscribed to and sworn before me
this Z day of May, 2019.

 

 

UNITED STATES MAGISTRATE JUDGE

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